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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

                                                    Case No. 3:22-CV-50212
 Dawn Nastali, individually and on behalf of all    Class Action Complaint
 others similarly situated,

                   Plaintiff,

                   v.

 Dollar General Corporation,

                   Defendant.


                        NOTICE OF SUPPLEMENTAL AUTHORITY

       NOW COMES Defendant, Dollar General Corporation, by counsel, Faegre Drinker Biddle

& Reath LLP, and in support of its Notice of Supplemental Authority, attaches a copy of the

Court’s Memorandum Opinion and Order granting the defendant’s motion to dismiss in DeMaso

v. Walmart, Inc., Case No. 21-cv-06334, dated February 7, 2023.


Dated: February 14, 2023                    FAEGRE DRINKER BIDDLE & REATH LLP

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